                     Case 2:10-cv-02072-JWL-KGS Document 15 Filed 06/22/10 Page 1 of 1

 AO 450 (Rev. 01/09) Judgment in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                             for the
                                                               District of Kansas
                                                          __________ District of __________


                    BRIAN THORNSBERRY                                            )
                                Plaintiff                                        )
                                    v.                                           )         Civil Action No. 10-2072-JWL
               REGENT ASSET MANAGEMENT                                           )
                         SOLUTIONS,
                               Defendant INC.
__________________________________________________________________________       )
                               Defendant
                                                         JUDGMENT IN A CIVIL ACTION


 The court has ordered that (check one):

 ✔
 ’ the plaintiff (name)            Brian Thornsberry                                                                              recover from the
 defendant (name)                              Regent Asset Management Solutions, Inc.                                               the amount of
 $4,500.00, inclusive of damages, attorney fees and costs dollars ($                                       4,500.00     ), which includes prejudgment
 interest at the rate of 0.00 %, plus postjudgment interest at the rate of                                 0.30       %, along with costs.
 ’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                  recover costs from the plaintiff (name)
                                           .
 ’ other:

                                                                                                                                                                .


 This action was (check one):

 ’ tried by a jury with Sresiding, and the jury has
 rendered a verdict.
 ’ tried by                                                                                               without a jury and the above decision
 was reached.
 ’ decided by                                           on a motion for




                                                                                         TIMOTHY M. O'BRIEN
 Date:              06/22/2010                                                           CLERK OF COURT



                                                                                                                 s/ Sharon Scheurer
                                                                                                          Signature of Clerk or Deputy Clerk

            Print                           Save As...                                                                                           Reset
